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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )     4:04CR3128
                                      )
     v.                               )
                                      )
MARK R. SCHNEIDER,                    )       ORDER
                                      )
     Defendant.                       )




     On the court’s own motion,

     IT IS ORDERED,

     The clerk is directed to remove filing number 37 from the
public docket sheet and file it as a sealed pleading.


     Dated June 13, 2005.

                                    BY THE COURT


                                    s/    David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
